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                 IN THE IOWA DISTRICT COURT FOR POLK COUNTY

ASHWORTH INVESTMENT                                 )       Case No. LACL155629
PARTNERS, L.L.C.,                                   )
                                                    )
Plaintiff,                                          )
                                                    )
v.                                                  )
                                                    )
ASHWORTH APARTMENTS I,                              )
L.L.C.,                                             )
                                                    )
Defendant.                                          )
-------------------------------------------------   )
MEADOWS CAPITAL PARTNERS                            )       Case No. LACL155713
I, L.L.C,                                           )
                                                    )
Plaintiff,                                          )       ORDER PARTIALLY GRANTING
                                                    )       APPLICATION FOR RULE TO SHOW
v.                                                  )       CAUSE AND ORDERING NATIONWIDE
                                                            BENCH WARRANT TO ISSUE
                                                    )
MEADOWS DEVELOPERS I, L.L.C.,                       )
                                                    )
Defendant.                                          )
_______________________________                     )
                                                            Case No. LACL155643
MEADOWS CAPITAL PARTNERS                            )
I, L.L.C. AND ASHWORTH                              )
INVESTMENT PARTNERS, L.L.C.,                        )
                                                    )
Plaintiffs,                                         )
                                                    )
v.                                                  )
                                                    )
DANIEL E. PETTIT,                                   )
                                                    )
Defendant.                                          )




                                                        1
                                                                                  UST Exhibit A-1
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       A hearing on Plaintiffs’ Application for Rule to Show Cause (the Application) was held

on September 27, 2024, because Defendant filed to personally appear at a hearing set earlier.

At the hearing, the court requested briefing from the parties within ten days of the hearing

date regarding the court’s power (1) to incarcerate Defendant for the remaining thirty seven

days of his contempt sentence entered November 30, 2023—approximately 11 months before

he filed for bankruptcy; and (2) to sentence Defendant for his contempt of the court’s June

17, 2024, Supervised Release Order pursuant to the Application—filed two months before

Defendant through counsel filed for bankruptcy.

       Plaintiffs timely filed their briefs by October 7, 2024. Although represented, Defendant

failed to file any briefs in response to the court’s request or in resistance to the Application

requesting Defendant’s immediate incarceration for his violations of the court’s Sentencing

Order and Supervised Release Order.

       Based upon the undisputed facts and legal authority set forth below, the court has the

authority to lift suspension of the remaining thirty seven days of the sentence imposed upon

Defendant on November 30, 2023.1 This action by the court is not related to or in furtherance

of Plaintiffs’ collection actions, but instead is intended to enforce and uphold the dignity of

the court’s Sentencing Order which Defendant flagrantly violated, as discussed below.

                                          ANALYSIS

       As noted above, on August 15, 2024, Plaintiffs filed their Application for Rule to Show

Cause requesting Defendant’s immediate incarceration for his flagrant and blatant violations

of both the court’s November 2023 Sentencing Order and the terms of the court’s June 2024


1 Defendant did not fila a writ of certiorari to challenge this sentence.


                                                2
                                                                                    UST Exhibit A-2
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Supervised Release Order. In response to the Application, the court ordered a hearing on the

matter, scheduled for September 27, at which “[a]ll Counsel and [Mr. Pettit] shall appear … in

person. No exceptions.” Defendant failed to appear at the September 27 hearing. Instead of

appearing at the hearing, Defendant filed for bankruptcy on the afternoon of September 25—

less than two days before he was ordered to appear and answer to the court for his

contumacious conduct while on supervised release. The court reluctantly ordered supervised

release for Mr. Pettit in June 2024 upon his sworn statement that he would “cooperate” with

the various Plaintiffs he has defrauded in the three cases identified above to the tune of over

$4,000,000.00. To the best of the court’s knowledge, Defendant remains at large, with his

whereabouts unknown.

       The Supervised Release Order entered June 17, 2024, states in pertinent part:

              “IT IS FURTHER ORDERED, ADJUDGED AND DECREED
       that pursuant to the Request, if Plaintiffs simultaneously notify the court and
       the Polk County Jail . . . that strict 24/7 security supervisory measures for
       Defendant are in place through PMSS, the Polk County Jail shall transfer
       custody and control of Defendant to PMSS. PMSS shall employ around the
       clock supervision of Defendant . . . . Under no circumstances shall the Polk
       County Jail release Defendant on his own recognizance or to any other person
       or any entity other than PMSS.

               IT IS FURTHER ORDERED, ADJUDGED AND DECREED
       that if Defendant:
           ...

             c.       attempts to flee from the jurisdiction of the State of Iowa or the
       United States;

              d.     fails to communicate with Mr. Katz on a daily basis;

               e.    otherwise fails to comply with this Order granting the Request,
       Plaintiffs may file a motion at any time requesting that suspension of
       Defendant’s remaining sentence for civil contempt be lifted and request such


                                              3
                                                                                   UST Exhibit A-3
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       other orders as may be appropriate or necessary at such time, including but not
       limited to a request for an arrest warrant.

              f.     IT IS FURTHER ORDERED, ADJUDGED AND
       DECREED that [Defendant] shall wear a GPS monitor 24/7 as part of the
       custodial supervision provided by PMSS.” (Release Order at pp. 4-5).

       It is uncontested that Defendant’s post-release conduct has been egregious. He has

made a mockery of the Supervised Release Order in every material respect identified above

and exploited every opportunity to evade court ordered supervision by third party PMMS.

       Plaintiffs urge that the court has the authority to impose new sentences upon

Defendant for his complete ignorance of the conditions imposed upon him by the court’s

Supervised Release Order entered June 17, 2024. The court respectfully disagrees. If this was

a criminal proceeding, the court would have authority to proceed with imposing a new

sentence or sentences upon Defendant for his most recent violations of court orders:

       With respect to the [non-repayment-concerned] category of cases, the federal
       courts are in agreement that the filing of a bankruptcy petition does not preclude
       the commencement of criminal contempt proceedings designed to insure
       compliance with future court orders and, more generally, to uphold the dignity
       of the court.
Scully v. Iowa Dist. Ct. for Polk Cnty., 489 N.W.2d 389, 391 (Iowa 1992) (emphasis added).

Defendant filed a federal chapter 7 bankruptcy proceeding. A federal chapter 7 bankruptcy

decision does not operate as a stay against “the commencement or continuation of a criminal

action or proceeding against the debtor.” Id. at 393 (citing In re Clowser, 39 B.R. 883, 886 (Bankr.

E.D. Va. 1984) (internal quotations omitted) (emphasis added). The instant matter is not a

criminal proceeding. It is a civil contempt action instituted under Iowa Code chapter 665.

       There is no doubt that the timing of Defendant’s bankruptcy filing is purposeful. It is

a direct, intentional attempt to evade the consequences of his failure to abide by his court

                                                 4
                                                                                       UST Exhibit A-4
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mandated obligations in the instant matter. Defendant’s conduct confirms his utter lack of

respect for court proceedings. Because he was already sentenced in November 2023 for his

original refusal to comply with court orders, it is well within the court’s authority to lift the

stay imposed in the court’s June 17 Supervised Release Order regarding the remainder of the

term of that sentence and return Defendant to the Polk County Jail to serve the remaining

thirty seven days of that sentence once he is apprehended under the bench warrant issued

simultaneously with this Order.

                                       CONCLUSION

          Defendant’s bankruptcy filing does not relieve him of the consequences of his blatant

violations of the court’s November 23, 2023, Sentencing Order entered well in advance of

Defendant’s federal bankruptcy filing in September 2024.2 The suspension of the thirty seven

days Defendant failed to serve under his November 2023 sentence should be lifted. A

nationwide bench warrant should be issued for his arrest. Upon Defendant’s apprehension,

he should be returned to the custody of the Polk County Jail to serve the remaining thirty

seven days of his sentence imposed in November 2023 for civil contempt.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that

Defendants’ August 15, 2024, Application for Rule to Show Cause is partially granted

regarding the Sentencing Order entered in November 2023 which remains in full force and

effect.




2 Nor does Defendant’s federal chapter 7 bankruptcy proceeding permit him to discharge

debts he accumulated through engaging in fraud or other illegal activity he perpetrated against
the named Defendants in this matter.

                                                5
                                                                                     UST Exhibit A-5
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          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that suspension

of the remainder of Defendant Daniel E. Pettit’s term of incarceration under the November

2023 Sentencing Order as indicated in the Supervised Release Order entered in June 2024 is

lifted.

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that upon his

apprehension, Defendant Daniel E. Pettit shall be transported to the Polk County, Iowa jail

located in Ankeny, Iowa, where he shall serve the remaining thirty seven days of his November

2023 sentence as originally imposed.

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that a nationwide

bench warrant shall issue immediately for Defendant Daniel E. Pettit’s arrest.

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all further

proceedings in these three civil matters are stayed pending resolution of Defendant’s federal

chapter 7 bankruptcy proceeding or until further order of the court.

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that costs are

assessed to Defendant.

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that if this Order

does not automatically cross file into Polk County Case Nos. LACL155643 and LACL155713,

the Polk County Clerk of Court shall promptly manually file this Order in those case numbers.




                                              6
                                                                                 UST Exhibit A-6
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                                                 State of Iowa Courts
  Case Number                     Case Title
  LACL155629                      ASHWORTH INVESTMENT LLC VS ASHWORTH
                                  APARTMENTS I LLC
  Type:                           OTHER ORDER
                                                            So Ordered




  Electronically signed on 2024-11-25 13:10:25




                                                                                UST Exhibit A-7
